
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 94-1912

                                    ROBERT MAINS,

                               Petitioner - Appellant,

                                          v.

                          TIMOTHY HALL AND LARRY E. DUBOIS,

                               Respondents - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                                Stahl, Circuit Judge,
                                       _____________

                           and Dom nguez,* District Judge.
                                           ______________

                                _____________________

               Joan C. Stanley, by Appointment of the Court, for appellant.
               _______________
               Gregory  I.  Massing, Assistant  Attorney  General, Criminal
               ____________________
          Bureau, with whom Scott  Harshbarger, Attorney General, and Nancy
                            __________________                        _____
          W.  Geary,   Assistant  Attorney  General,  were   on  brief  for
          _________
          appellees.



                                 ____________________

                                   January 29, 1996
                                 ____________________

                              
          ____________________

          *  Of the District of Puerto Rico, sitting by designation.














                    DOMINGUEZ,   District  Judge.     Petitioner-appellant,
                    DOMINGUEZ,   District  Judge.
                                 _______________

          Robert Mains ("Mains") challenges  the district court's dismissal

          of  the petition of  the writ of  habeas corpus  and requests the

          same  to be vacated.   Mains further requests  the remand of this

          case to the district court for  a determination as to whether his

          claim is procedurally barred as successive and as an abuse of the

          writ  under Sandstrom v. Montana, 442 U.S. 510 (1979), whether it
                      _________    _______

          is new  law with respect to Mains's claim, and if so, whether the

          retroactive  application of said law is barred by Teague v. Lane,
                                                            ______    ____

          489 U.S. 288 (1989).  

                    We  hold that  the judgment  of the  district court  is

          warranted.  Consequently, we affirm. 

                                    I. BACKGROUND
                                    I. BACKGROUND
                                    _____________

                    On  January  17,  1994,  a Suffolk  County  Grand  Jury

          indicted Mains in the  Superior Court of Massachusetts (Sullivan,

          J.), for the  crimes of Murder in the First  Degree, in violation

          of Mass.  Gen. L. ch.  265,    1, and for  unlawfully carrying  a

          firearm, in violation of Mass.  Gen. L. ch. 269,   10.  Mains was

          convicted on both charges and was sentenced to life  imprisonment

          on the murder charge; the charge of carrying a firearm was placed

          on file.  His conviction was upheld by the Supreme Judicial Court

          of Massachusetts.1  See   Commonwealth v. Mains, 374  N.E.2d 576,
                              ___   ____________    _____

          577 (1978).

                              
          ____________________

          1  Petitioner  filed two motions  for a new  trial denied by  the
          court on April 22, 1977.  Mains then appealed the  conviction and
          the  denial of both motions for a new trial; the Supreme Judicial
          Court affirmed the judgment of the Superior Court.

                                         -2-














                    On May 31, 1978,  Mains filed his first petition  for a

          writ  of habeas  corpus pursuant  to 28  U.S.C.    2254, claiming

          inter  alia that  the prosecutor  failed to  disclose exculpatory
          _____  ____

          evidence  about a  key witness,  ineffective assistance  of trial

          counsel, and that the  trial judge's instructions to the  jury on

          the issue of the  "lawfulness" of the killing violated  his right

          to  due process, by effectively  directing the jury  to find that

          said element  of the crime was  proven.  On August  13, 1979, the

          district court  (Freedman, J.) allowed the  petition, granted the

          writ,  and ordered  a new  trial.   However, the  Commonwealth of

          Massachusetts appealed,  and  this court  reversed  the  district

          court's decision  and  dismissed  the  petition.   See  Mains  v.
                                                             ___  _____

          Butterworth,  619 F.2d  83, cert.  denied, 449  U.S.  864 (1980).
          ___________                 _____  ______

          Mains then filed a motion for rehearing wherein he raised, again,

          the  issue of  the trial  court's instructions.   The  motion was

          denied on March  27, 1980.  The decision stated  that (the court)

          "has given this case particularly careful and close attention and

          there  is  nothing  in  the  petition  that  was  not  previously

          considered." 

                    On  February 11, 1983, Mains  filed a motion  for a new

          trial pro se,  before the  state court, claiming  that the  trial
                ___ __

          court's instructions to the jury relieved the Commonwealth of its

          burden  of proof  on  the  element  of  malice  in  violation  of

          Sandstrom  v.  Montana, 442  U.S. 510  (1979).   This  motion was
          _________      _______

          denied.    Mains'  subsequent  application for  leave  to  appeal

          pursuant to Mass. Gen.  L. ch. 278,   33E was  also denied by the


                                         -3-














          Single Justice of  the Supreme Judicial  Court (Wilkins, J.)  who

          c   o   n   c   l   u   d   e   d               t   h   a   t   ,

                      [a]rguably,   [the  petitioner's   claim]
                      could   be   interpreted  as   either  an
                      impermissible presumption,  raising a new
                      issue under Sandstrom v.  Montana, supra,
                                  _________     _______  _____
                      or  a  change  in  the  burden  of proof,
                      raising an old issue under In re Winship,
                                                 _____________
                      supra,  and Mullaney v. Wilbur, supra . .
                      _____       ________    ______  _____
                      . My inclination is to say that, if there
                      is an error at  all, it involves an error
                      that could have been raised before.

                    On April  6, 1992,  Mains filed  a second petition  for

          writ of  habeas corpus pursuant to 28 U.S.C.   2254, a motion for

          appointment  of  counsel,  and  a  motion  to  proceed  in  forma
                                                                  __  _____

          pauperis.2   Respondents filed a motion to dismiss on the grounds
          ________

          that the  petition was successive and  an abuse of the  writ.  On

          May 31, 1994, the district  court (Wolf, J.) granted respondents'

          motion and  dismissed the petition.3  In  addition, a certificate

          of  probable  cause to  appeal was  granted  on August  15, 1994,

          pursuant to Fed. R. App. P. 22(b),4  and Counsel was appointed to

          represent Mains on November 3, 1994.

                              
          ____________________

          2   Petitioner  also filed  a motion  for a  show-cause order  on
          December 4, 1992.   On June  14, 1993, the district  court (Wolf,
          J.) denied appointment of  counsel, granted the motion  for leave
          to  proceed in forma pauperis, and  ordered respondents to answer
                      __ _____ ________
          on or before July 30, 1993. 

          3   With regard to  respondents' motion to  dismiss, the district
          court found, "[i]n essence,  the petitioner has reasserted claims
          previously  rejected in  connection with his  original petition[]
          and made a new  argument concerning the jury instructions  at his
          trial which does not constitute a new claim and, in any event, is
          an abuse of the writ."

          4  See Barefoot v. Estelle, 463 U.S. 880 (1983); Lozada v. Deeds,
             ___ ________    _______                       ______    _____
          498 U.S. 430 (1991). 

                                         -4-














                    The sole issue on appeal is whether the district  court

          properly  dismissed as  successive and  as an  abuse of  the writ

          Mains'  claim  that  the  trial court's  instructions  on  malice

          violated his right to due process.5    

                    Mains's  first Habeas  petition  stems from  the  trial

          court's   purportedly  improper  withholding  the  issue  of  the

          lawfulness of the  killing from  the jury's  consideration.   The

          trial  judge's instruction  stated  that "'there  is no  question

          raised  here that there was  a homicide committed',  and that the

          jury  must first  determine whether  the defendant  committed the

          homicide."  See Commonwealth v. Mains, 374 N.E.2d at 577-578.  In
                      ___ ____________    _____

          his  petition Mains  asseverates  that the  Commonwealth has  the

          burden  of proving  unlawfulness beyond  a reasonable  doubt, and

          that there  is  sufficient evidence  which  raises the  issue  of

          lawfulness (i.e. that the  alleged victim died with a  gun in his
                      ____

          hand,  that Mains testified to  having been shot,  and that Mains

          was "jammed in" and "couldn't run").

                    In  his second  petition Mains  argues that  the malice

          instruction was unconstitutional because it shifted the burden of

          proof  to Petitioner  and caused  the jury  to find  Mains guilty

          unless  he controverted the evidence.   In addition, Mains argues

          that  the  unlawful  presumption  or  implied  language,  further
                              
          ____________________

          5  In addition, petitioner further raised that (1)the prosecution
          failed to  disclose exculpatory evidence;  (2) he was  denied the
          effective  assistance  of  counsel;  and (3)  the  trial  judge's
          instructions  to  the jury  removed the  issue of  lawfulness, an
          element of the offense,  from their consideration.  All  of these
          claims were  dismissed as successive; petitioner  does not appeal
          that portion of the district court's decision.

                                         -5-














          prevented the  jury from  considering manslaughter.   The averred

          defective instruction reads as follows:



                        "Malice  as  used  in   the  expression
                      doesn't   necessarily   imply  ill   will
                      towards   the   person   killed.      Any
                      intentional  killing  of  a  human  being
                      without   legal  justification,   without
                      excuse,      with     no      extenuating
                      circumstances,  is malicious.  That is to
                      say,  it is done  with malice  within the
                      meaning    of   that    expression   and,
                      therefore,   is   murder,   and  is   not
                      manslaughter.

                        The   word    "aforethought"   in   the
                      expression  malice  aforethought has  its
                      ordinary meaning.    That means  to  say,
                      "Thought of beforehand; forethought."  If
                      the killing was intentional,  even though
                      the act followed the  thought immediately
                      without   time    for   deliberation   or
                      reflection,  the  killing  was then  with
                      malice aforethought within the meaning of
                      that technical expression of the law, and
                      is therefore a murder.

                        A   killing   may   be  malicious   and
                      consequently  murder,   even  though  the
                      slayer didn't wish to cause it.  If a man
                      intentionally    and    without     legal
                      justification,  excuse   or  extenuation,
                      uses upon  the body  of another  person a
                      force, for example, a bullet from a  gun,
                      that is  used to do grievous  bodily harm
                      to  the other  person, or cause  death to
                      the other person, and so used will create
                      a  clear and  plain  likelihood that  the
                      other person  could  or would  die  as  a
                      result,  the act is then malicious within
                      the meaning  of the law,  even though the
                      doer  of the  act was  indifferent as  to
                      whether  or  not death  would  result, or
                      even if he  wished and  hoped that  death
                      would not result, for  it still would  be
                      malicious  within  the  meaning   of  the
                      statute  concerning  itself with  murder,
                      because the word "malice" as used in  the
                      law  does not  necessarily mean  or imply

                                         -6-














                      hatred  or ill  will  toward  the  person
                      killed,  but  includes  any intention  to
                      inflict   upon  another   serious  injury
                      without    justification    or    without
                      palliation.  *  *  *

                        "Malice aforethought  in the expression
                      that  I  have  used  in  connection  with
                      murder  in  the  second  degree  I repeat
                      includes  every  unjustifiable,  unlawful
                      motive,  and malice  can be  implied from
                      any  deliberate  and  cruel  act  by  one
                      person towards another."

                    In  the instant case, even if the malice portion of the

          instruction  is  deemed to  differ  from  the unlawfulness  issue

          previously raised, said issue was accessible to Mains at the time

          when the original  petition was filed.   Rule  9(b) of the  rules

          governing  habeas corpus  proceedings,  28 U.S.C.  foll.    2254,

          provides  for  dismissal  of  "successive"  petitions,  or  those

          petitions which raise grounds that were available, but not relied

          upon,  in a prior petition.6  Because Mains had already presented

          the issue of whether  the trial court's instructions to  the jury

          relieved  the   Commonwealth  of  its  burden   of  proving  each

          individual  element of  the  murder offense  beyond a  reasonable











                              
          ____________________

          6   See  Sawyer v.  Whitley,  505 U.S.  333 (1992);  Kuhlmann  v.
              ___  ______     _______                          ________
          Wilson, 477 U.S. 436,  444 n.6 (1986), quoting Sanders  v. United
          ______                                 _______ _______     ______
          States, 373 U.S. 1, 17  (1963).  See also Hudson v.  Whitley, 979
          ______                           ________ ______     _______
          F.2d 1058, 1063 n.10 (5th Cir. 1992).

                                         -7-














          doubt,7  respondents argue  that  the  district court  adequately

          concluded that Mains' claim was precluded by Rule 9(b).8  

                    Furthermore,  respondents  assert  that the  burden  of

          proof argument raised  by the malice instruction, as the argument

          presented by  Mains relating to the  instruction on "lawfulness,"

          was  available to  Mains  when he  filed  his original  petition.

          Respondents  further  allege  that  Mains strives  to  avert  the

          effects  of Rule  9(b)'s prohibition  of successive  petitions by

          stating  that  said claim  was unavailable  to  him prior  to the

          Supreme Court's decision in Sandstrom, as "cause" for failure  to
                                      _________

          present his claims in the original petition.
                              
          ____________________

          7    In his  original petition,  Mains  claimed that  the judge's
          instruction relieved  the Commonwealth  of its burden  of proving
          beyond a reasonable doubt an "unlawful" killing with malice.  The
          argument  in   Mains'  second   petition  is,  again,   that  the
          Commonwealth obtained a conviction without proving  every element
          of the offense beyond a reasonable doubt, but regarding the issue
          of malice  in the judge's instructions,  Mains includes Sandstrom
                                                                  _________
          v.  Montana, 442 U.S. 510  (1979), arguing that  because the jury
              _______
          was told that some evidence of malice was sufficient to support a
          conviction, the instruction relieved the Government of its burden
          of proof.

          8  Rule 9(b) of the rules governing habeas corpus proceedings, 28
          U.S.C. foll.   2254 provides, in pertinent part, that "[a] second
          or successive petition may  be dismissed if the judge  finds that
          it fails to  allege new or  different grounds for relief  and the
          prior  determination was on the  merits or, if  new and different
          grounds  are alleged,  the judge  finds that  the failure  of the
          petitioner  to   assert  those   grounds  in  a   prior  petition
          constituted  an abuse of the  writ."  "Grounds",  for purposes of
          this  rule, means  a  "sufficient legal  basis  for granting  the
          relief sought."  See  Sanders v. United  States, 373 U.S. at  16;
                           ___  _______    ______________
          Collins v. Zant, 892 F.2d 1502, 1505 (11th Cir. 1990).   In order
          _______    ____
          to  avoid the preclusive effect of Rule 9(b), a habeas petitioner
          must  present a  "new  or different  claim;  a new  or  different
                                               _____
          argument  (legal or  factual)  in support  of  a claim  that  has
          ________
          already been raised and  decided on the merits is  not sufficient
          to prevent  dismissal of the  claim."  See  Collins, id. at  1505
                                                 ___  _______  ___
          (emphasis in original). 

                                         -8-














                      Respondents  allege that  to  the  extent that  Mains

          failed  to show "cause"9 for his failure  to present the claim in

          the original petition, and because the Sandstrom case was decided
                                                 _________

          five months before the  Commonwealth of Massachusetts appealed to

          this  court,10   the  district  court   properly  dismissed   the

          petition as successive and as an abuse of the writ.  

                    In his second petition,  Mains avers that habeas relief

          is  warranted because his claim  under Sandstrom is  a "new rule"
                                                 _________

          which meets the second exception presented in Teague v. Lane, 489
                                                        ______    ____

          U.S.  288  (1989).    Respondents  counter  by  stating  that the

          Sandstrom holding  advanced those principles enumerated  in In re
          _________                                                   _____

          Winship,  397 U.S. 358 (1970),  and Mullaney v.  Wilbur, 421 U.S.
          _______                             ________     ______

          684   (1975),  to  presumptions  created  in  jury  instructions.

          Respondents  correctly   allege  that  Sandstrom  was  a  "lineal
                                                 _________

          descendant of Winship; it  simply held that an instruction  which
                        _______

          creates a presumption of fact violates due process if it relieves
                              
          ____________________

          9  The  abuse of the  writ defense was  raised by respondents  in
          their motion to dismiss of  August 5, 1993.  In  their supporting
          memorandum,   respondents   presented   the    "cause"   standard
          articulated  in McCleskey  v.  Zant,  499  U.S. 467  (1991),  and
                          _________      ____
          Andiarena  v. United States, 967  F.2d 715, 718  (1st Cir. 1992).
          _________     _____________
          On   August  9,   1993,  petitioner   filed  his   opposition  to
          respondents' motion.  Because  the district court determined that
          the petitioner had not demonstrated "cause" sufficient to prevent
          dismissal on the ground of  abuse of the writ, the court  did not
          reach the issue  of whether the  petitioner had demonstrated  any
          "prejudice" or that "a  fundamental miscarriage of justice" would
          result if the court did not entertain his claim. 

          10    The Sandstrom  decision was  announced  in June  1979, five
                    _________
          months   before  Mains   filed  his   brief  responding   to  the
          Commonwealth of Massachusetts' appeal  to this court in  Mains v.
                                                                   _____
          Butterworth,  supra.    Therefore,   Mains  could  have  employed
          ___________   _____
          Sandstrom  to   support  his  original  challenge   to  the  jury
          _________
          instructions during the federal appellate process.

                                         -9-














          the State of  its burden of  proving all of  the elements of  the

          offense  charged beyond  a  reasonable doubt."    See Gilmore  v.
                                                            ___ _______

          Taylor,        U.S.      ,  113  S.  Ct.   2112,  2118  (1993).11
          ______   ____        ____

          Respondents conclude  that because Mains had  already argued that

          the judge's instruction on lawfulness shifted the burden of proof

          and relieved the Commonwealth  of its burden of proving  beyond a

          reasonable doubt12 each element  of the offense, the  addition of

          Sandstrom13 does  not constitute  a "new claim"  for purposes  of
          _________

          Teague v. Lane, 489 U.S. 288 (1989).14
          ______    ____

                    Mains has  failed to show cause or  prejudice to oppose

          respondents'  abuse  of the  writ defense.15    The court  is not

          persuaded that  in the instant  case Sandstrom constitutes  a new
                                               _________

                              
          ____________________

          11  See also Rose  v. Clark, 478 U.S. 570, 580  (1986) (Sandstrom
              ________ ____     _____                             _________
          was "a logical extension of the Court's holding in In re Winship,
                                                             _____________
          397 U.S. 358 (1970),  that the prosecution must prove  every fact
          necessary  to constitute  a  crime from  which  the defendant  is
          charged beyond a reasonable doubt.").

          12  See Sandstrom, 442 U.S. at 513.
              ___ _________

          13    In  Sandstrom,  the  Supreme  Court  determined  that  jury
                    _________
          instructions which  created a  "mandatory presumption"  of malice
          violated a defendant's due process rights.  Id. at 524.
                                                      __

          14   Mains  submits  as additional  grounds  for his  failure  to
          present  his  Sandstrom  claim of  alleged  error  in the  malice
                        _________
          instruction in his first  habeas petition the fact that  he "only
          raised  a challenge to  the lack of  self-defense instruction" in
          state  court.  This assertion  also lacks merit.   As respondents
          point out, Mains focused  this court's attention to the  issue of
          burden  of proof as independent  and different from  the issue of
          whether he was entitled  to an instruction on self-defense.   See
                                                                        ___
          Mains v.  Butterworth, respondents' Exhibit  I, p. 33,  n.19, and
          _____     ___________
          Mains petition for rehearing, respondents' Exhibit E, p. 2.

          15  Because petitioner's claim of error in the malice instruction
          is not a new "ground" for Rule 9(b) purposes, the case should not
          be remanded.

                                         -10-














          development in  the law, or an external  factor16 affording Mains

          sufficient  cause  for  his   failure  to  present  the  claim.17

          Indeed, Mains could have reasonably employed Sandstrom during the
                                                       _________

          appeal  and subsequent  motion  for rehearing  that followed  his

          original petition.   Furthermore, Mains already  made an argument

          in his first petition  regarding the instruction, and invoked  In
                                                                         __

          re  Winship, 397 U.S. 358, 90 S.  Ct. 1068, 25 L.Ed.2d 368 (1970)
          ___________

          and Mullaney  v. Wilbur, 421 U.S. 684, 95 S. Ct. 1881, 44 L.Ed.2d
              ________     ______

          508 (1975), the precedents upon which Sandstrom is premised.  
                                                _________

                    In  this  regard  we  find that  petitioner's  argument

          regarding the malice instruction and burden  shifting presumption

          is not advanced and fails to constitute "new ground" for purposes

          of  Rule 9(b).     Furthermore, because  the Sandstrom  claim was
                                                       _________

          reasonably  available to Mains  at the time of  his appeal of the

          denial of his first   2254 petition, the same does not constitute

          a   "new   rule"   qualifying   it  under   the   second   Teague
                                                                     ______

          exception.18
                              
          ____________________

          16  See Reed v. Ross, 468 U.S.  1, 16, 104 S. Ct. 2901, 82  L.Ed.
              ___ ____    ____
          2d 1 (1984)  ("where a constitutional claim is so  novel that its
          legal basis is not  reasonably available to counsel, a  defendant
          has cause  for his failure to raise  the claim in accordance with
          applicable ... procedures.")

          17  To  the  extent  that  the  Sandstrom  claim  was  reasonably
                                          _________
          available to the petitioner,  no just cause has been shown.   See
                                                                        ___
          Boyer  v. United States, 55  F.3d 296 (7th  Cir. 1995) (plaintiff
          _____     _____________
          failed  to  offer sufficient  justification  for  not raising  an
          additional   "reasonably   available"  claim   in   his  original
          petition). 

          18   In  Teague the  court determined  when a  new rule  deserved
                   ______
          retroactive effect.   A  new  rule was  defined as  a rule  which
          mandates a result "not dictated by precedent existing at the time
          the defendant's conviction  became final".   See Teague v.  Lane,
                                                       ___ ______     ____

                                         -11-














                    We need go no  further.  Mains has failed  to establish

          sufficient "cause"  or "prejudice"  necessary to reach  the issue

          presented in this  successive petition.19   Consequently,  Mains'

          habeas  petition  remains  a   casualty  of  its  own  procedural

          deficiency.

                                    II. CONCLUSION
                                    II. CONCLUSION
                                    ______________

                    For the  above-stated reasons,  we affirm the  district

          court's judgment. 

                    Affirmed.   
                    ________




























                              
          ____________________

          id. at 310.
          ___

          19  See McCleskey, 111 S.  Ct. at 1470 ("application of the cause
              ___ _________
          and  prejudice standard in the abuse of the writ context does not
          mitigate the force of Teague v. Lane").
                                ______    ____

                                         -12-









